                                In the
                           Court of Appeals
                   Second Appellate District of Texas
                            at Fort Worth
                                 No. 02-23-00210-CV

GREGORY WAYNE COON, Appellant               §    On Appeal from the 233rd District
                                                 Court

V.                                          §    of Tarrant County (233-694810-21)

                                            §    August 22, 2024

VICTORIA JACOBS COON (THOMAS),              §    Memorandum Opinion by Justice
Appellee                                         Birdwell

                                    JUDGMENT

      This court has considered the record on appeal in this case and holds that there

was error in the trial court’s judgment. It is ordered that the judgment of the trial

court is reversed, and the case is remanded to the trial court for a new hearing.

      It is further ordered that the parties shall split the costs of this appeal, for

which let execution issue.

                                       SECOND DISTRICT COURT OF APPEALS


                                       By /s/ Wade Birdwell
                                          Justice Wade Birdwell
